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                         UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                        CASE NO. 16-cr-02368-BEN

                         Plaintiff,

               vs.                               JUDGMENT OF DISMISSAL

HECTOR ELIUTH HERNANDEZ-
ROSALES,

                         Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

X    an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

     the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

X    of the offense (s) as charged in the Indictment/Information:

     21:841(a) (1);18:2 - Possession of Methamphetamine and Heroin with

     Intent to Distribute, Aiding and Abetting (Felony)(1)

          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: 11/08/16

                      FILED                      Bernard G. Skomal
                                                 U.S. Magistrate Judge
                      NOV - 8 2016
                 CLERK. U.S< SVkiCT COURT
              SOUTHERN' DISTRICT OF CALIFORNIA
              BV                        DEPUTY
